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                         IN THE UNITED STATES COURT
                       FOR THE DISTRICT OF PUERTO RICO


         UNITED STATES OF AMERICA,

              Plaintiff,

                  v.                            CRIM. NO. 22-342 (SCC)

         WANDA VÁZQUEZ-GARCED [1],
         JULIO M. HERRERA-VELUTINI [2],
         AND MARK T. ROSSINI [3],


             Defendants.


                             OPINION AND ORDER
              Pending before the Court is Defendant Wanda

     Vázquez-Garced’s (“Vázquez”) Motion to dismiss all charges

     against her. See Docket No. 193. Defendant Julio M. Herrera-

     Velutini (“Herrera”) joins her motion as to all charges against

     him. 1 See Docket No. 198; 205. Defendant Mark T. Rossini

     (“Rossini”) joins her motion only as to Counts One and Four. 2

     See Docket No. 199; 205. For the reasons below, the Court

     DENIES the Motion to Dismiss at Docket No. 193 as to all

     relevant counts and defendants. 3


     1 Vázquez is not charged in Count Two, but Herrera is. The Court

     construes Herrera’s request to join and to dismiss Count Two as premised
     on the same legal theory Vázquez presents in support of dismissing Count
     Three.

     2Rossini reserved the right to file a separate motion to dismiss as to Count
     Two, in which only he and Herrera are charged. See Docket No. 199, pg. 2.

     3 The instant Motion to Dismiss, as supplemented by the Motions for
     Joinder, only addresses the Indictment’s first four counts. See Docket Nos.
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                                    I. BACKGROUND

                The Court begins with a brief overview of the alleged

     scheme, reserving a more nuanced discussion of the

     Indictment’s allegations for its analysis.

                In August 2022, the Government charged Vázquez,

     Herrera, and Rossini with conspiracy, federal program

     bribery, and honest services wire fraud in a seven-count

     Indictment. 4 See Docket No. 3. Allegedly, Vázquez, former

     Governor of Puerto Rico, along with Herrera, ultimate owner

     of Bancrédito bank, 5 Rossini, a professional consultant, and

     others6 engaged in a bribery scheme in which Vázquez

     replaced the head of Puerto Rico’s banking regulator



     193, 198, 199. Herrera separately moved to dismiss Counts Five, Six, and
     Seven in which he alone is charged with a distinct bribery scheme. See
     Docket No. 224. Herrera also moved to dismiss the Indictment in its
     entirety, alleging that outrageous government misconduct tainted the
     investigation. See Docket No. 262.

     4Count One charges a conspiracy under 18 U.S.C. § 371. Counts Two and
     Three charge federal program bribery under 18 U.S.C. §§ 666(a)(2) and 2
     and 18 U.S.C. §§ 666(a)(1)(B) and 2 respectively. Count Four charges
     honest services wire fraud under 18 U.S.C. §§ 1343, 1346, and 2. The
     remaining counts pertain to a distinct bribery scheme.

     5Bancrédito is an international bank that conducted business in Puerto
     Rico during the time covered by the Indictment. See Docket No. 3, para. 5.

     6   Certain intermediaries were not indicted in this case.
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     (“OCIF”) with a Commissioner of Herrera’s choosing in

     exchange for Herrera providing campaign contributions and

     political consulting services. 7 See id. paras. 5–8; 29–36. This

     personnel change followed OCIF investigations into alleged

     regulatory violations by Bancrédito. See id. paras. 25–26.

              Defendants now move to dismiss Counts One through

     Four on grounds that the Indictment fails to allege an implied

     element of § 666 bribery involving campaign contributions:

     an explicit quid pro quo. See Docket No. 193, pg. 1; Docket No.

     193-1, pg. 7. Defendants draw this element from United States

     v. McCormick and its progeny. See United States v. McCormick,

     500 U.S. 257 (1991); Docket No. 193-1, pg. 7. They argue that

     because the Government did not identify an express

     agreement between Vázquez and Herrera, this Court should

     dismiss the bribery counts as well as the conspiracy and

     honest services wire fraud counts contingent upon them. See

     Docket No. 193-1, pgs. 7, 25.




     7 “OCIF” is the Spanish-language acronym for the Office of the
     Commissioner of Financial Institutions of Puerto Rico.
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                                II. LEGAL STANDARD

              “[A]n indictment is sufficient if it contains the elements

     of the offense charged, fairly informs the defendant of the

     charges against which he must defend, and enables him to

     enter a plea without fear of double jeopardy.” United States v.

     Yefsky, 994 F.2d 885, 893 (1st Cir. 1993) (citing Hamling v.

     United States, 418 U.S. 87, 117 (1974)). “A well-pleaded

     indictment can parrot ‘the statutory language to describe the

     offense, but it must also be accompanied by such a statement

     of facts and circumstances as to inform the accused of the

     specific offense with which he is charged.’” United States v.

     Parigian, 824 F.3d 5, 9 (1st Cir. 2016) (quoting United States v.

     Savarese, 686 F.3d 1, 6 (1st Cir. 2012)).

              Hyper-technical deficiencies will not thwart an

     indictment that satisfies that standard. Courts “must reject

     arguments that embrace technical niceties at the expense of

     common sense.” United States v. Stepanets, 879 F.3d 367, 372

     (1st Cir. 2018). And judicial glosses, “though helpful in

     interpreting a criminal statute, need not be included verbatim

     in the charging document.” United States v. Troy, 618 F.3d 27,

     35 (1st Cir. 2010).

              When evaluating challenges to an indictment’s

     sufficiency, courts take as true the allegations therein. See
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     United States v. Guerrier, 669 F.3d 1, 3–4 (1st Cir. 2011).

     The Government is under no obligation to “recite all of its

     evidence in the indictment.” Stepanets, 879 F.3d at 372 (citing

     United States v. Innamorati, 996 F.2d 456, 477 (1st Cir. 1993)).

     Accordingly, “courts routinely rebuff efforts to use a motion

     to dismiss as a way to test the sufficiency of the evidence

     behind an indictment's allegations.” Guerrier, 669 F.3d at 4.

                                     III. ANALYSIS

              In light of this standard, the Court considers, and

     necessarily rejects, the Defendants’ challenges to the

     Indictment, count by count.

              A. Counts Two and Three: Federal Program Bribery

                   (18 U.S.C. §§ 666(a) and 2) 8

              What       precisely   must   an     indictment    allege     to

     sufficiently charge federal program bribery? Defendants

     argue that McCormick, a Hobbs Act extortion case, supplies

     the applicable standard. See Docket No. 193-1, pg. 7. Under

     McCormick, the Government must identify an explicit quid

     pro quo where an alleged bribe takes the form of a campaign

     contribution. McCormick, 500 U.S. at 273. Because all Parties


     8Vázquez is charged in Count Three under 18 U.S.C. §§ 666(a)(1)(B) and 2
     as an agent of the Commonwealth of Puerto Rico. Herrera and Rossini are
     charged in Count Two under 18 U.S.C. §§ 666(a)(2) and 2. The Court
     addresses both bribery counts together.
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     request to import that standard for purposes of addressing

     Defendants’ Motion to Dismiss, the Court assumes arguendo,

     and without deciding, that McCormick and its progeny applies

     to federal program bribery. 9

              In McCormick, a state legislator appealed his conviction

     for extortion under color of official right in violation of the



     9 The Government does not concede that McCormick applies but asks the
     Court to evaluate the Defendants’ motion as if it does. See Docket No. 201,
     pg. 7 n.2. This request is not unfounded. See United States v. Allen, 10 F.3d
     405, 410–11 (7th Cir. 1993) (recognizing that McCormick may apply to
     federal bribery statutes because “extortion . . . and bribery are really
     different sides of the same coin”). Various courts have applied the
     McCormick explicit quid pro quo requirement to § 666 bribery charges
     where the “thing of value” is a campaign contribution. See, e.g., United
     States v. Donagher, 520 F. Supp. 3d 1034, 1043–46 (N.D. Ill. 2021) (applying
     McCormick and dismissing federal program bribery charges because the
     indictment failed to allege an explicit quid pro quo); United States v.
     Pawlowski, 351 F. Supp. 3d 840, 849–51 (E.D. Pa. 2018) (applying McCormick
     when evaluating a Rule 29 challenge to a federal program bribery
     conviction); United States v. Siegelman, 640 F.3d 1159, 1169–72, 1190 (11th
     Cir. 2011) (affirming federal program bribery convictions because a
     McCormick jury instruction was given and evidence supported an explicit
     quid pro quo finding); United States v. Benjamin, No. 21-CR-706 (JPO), 2022
     WL 17417038, *4, *13, *17 (S.D.N.Y. Dec. 5, 2022) (dismissing federal
     program bribery counts because the indictment failed to allege an explicit
     quid pro quo under McCormick); see also United States v. Menendez, 132 F.
     Supp. 3d 635, 642 (D.N.J. 2015) (finding that “the McCormick standard
     applies to alleged bribery under 18 U.S.C. § 201(b)”). Furthermore, the
     First Circuit has found § 666 bribery “analogous” and therefore instructive
     when assessing whether the quid pro quo requirement in a Hobbs Act
     extortion case was met. United States v. Correia, 55 F.4th 12, 31 (1st Cir.
     2022). Because the Court considers the Parties’ request to be made in good
     faith, it evaluates whether the Indictment alleges an explicit quid pro quo.
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     Hobbs Act. 10 See McCormick, 500 U.S. at 265–66. Robert

     McCormick (“McCormick”) had long championed a program

     permitting graduates of foreign medical schools to practice

     under temporary permits while studying for the state

     licensing exam. When the state legislature moved to end that

     program, foreign doctors organized and hired a lobbyist to

     push legislation extending it. See id. at 259–60. McCormick

     sponsored that bill and agreed to sponsor legislation

     providing for permanent licenses based on experience, not

     test scores. See id. at 260. While running for reelection,

     McCormick informed the doctors’ lobbyist “that his

     campaign was expensive” and “that he had not heard

     anything from the foreign doctors.” Id. The lobbyist said he

     would contact the doctors and “see what he could do.” Id.

     Subsequently, the lobbyist delivered $900 in cash to

     McCormick from the doctors. See id. Three additional

     payments worth thousands of dollars followed. See id.

     McCormick did not report the money as campaign

     contributions or income, and the doctors’ organization used

     coded accounting entries indicating payments went to

     McCormick. See id. McCormick sponsored the permanent



     10   See 18 U.S.C. § 1951.
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     licensing legislation, which ultimately passed. See id. Two

     weeks later, McCormick received another cash payment from

     the doctors. See id.

              A jury convicted McCormick of tax evasion and one

     Hobbs Act count for accepting the initial $900 cash payment.

     See id. at 265. The jury could not reach verdicts on the Hobbs

     Act counts concerning the subsequent four payments. See id.

              On appeal, the Fourth Circuit “rejected McCormick’s

     contention that conviction of an elected official under the Act

     requires, under all circumstances, proof of a quid pro quo.” Id.

     at 265–66 (emphasis in original). Instead, the Court

     questioned whether the payments were intended as

     “legitimate campaign contributions.” Id. at 271 (emphasis in

     original). Finding they were not, the Court affirmed

     McCormick’s convictions. See id. at 266.

              The Supreme Court reversed, holding proof of an

     explicit quid pro quo was absent but necessary for

     McCormick’s Hobbs Act extortion conviction. See id. at 274.

     While the majority agreed that it is “proper to inquire whether

     payments made to an elected official are in fact campaign

     contributions, and . . . the intention of the parties is a relevant

     consideration,” it explained that Hobbs Act violations do not

     turn on payments’ intended legitimacy or illegitimacy. Id. at
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     271. The Court emphasized that legislators are dutybound to

     support legislation that benefits their constituents yet operate

     within a privately funded campaign system. See id. at 272. As

     a result, beneficiaries of legislation inevitably make

     contributions shortly before or after legislators act to their

     benefit. See id. To clarify the scope of illegal conduct targeted

     by Congress, the Court held that “receipt of . . . [campaign]

     contributions is . . . vulnerable under the [Hobbs] Act as

     having been taken under color of official right[] . . . only if the

     payments are made in return for an explicit promise or

     undertaking by the official to perform or not to perform an

     official act. In such situations the official asserts that his official

     conduct will be controlled by the terms of the promise or

     undertaking.” Id. at 273 (emphasis added).

              The following term, the Supreme Court added color to

     McCormick’s quid pro quo requirement. In Evans, an elected

     member of the Board of Commissioners of DeKalb County,

     Georgia, appealed his Hobbs Act extortion conviction for

     accepting $7,000 in cash and a $1,000 check payable to his

     campaign in exchange for his assistance rezoning a tract of

     land. Evans v. United States, 504 U.S. 255, 257 (1992). Evans

     reported the check, but not the cash, as a campaign

     contribution. See id. He did not report the cash as income on
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     his tax return. See id. The jury instructions reflected Evans’

     contention that the entire $8,000 constituted a campaign

     contribution. See id. Evans argued that the jury instructions

     permitted conviction on the basis of passively accepting a

     contribution and failed to properly describe the McCormick

     quid pro quo requirement applicable if the jury found the

     payment was a campaign contribution. 11 See id. at 267. The

     Supreme Court found the instruction sufficient under

     McCormick and held that “the Government need only show

     that a public official has obtained a payment to which he was

     not entitled, knowing that the payment was made in return


     11The District Court’s instruction on the extortion count, in relevant part,
     reads:
            The defendant contends that the $8,000 he received from
            agent Cormany was a campaign contribution. The
            solicitation of campaign contributions from any person is
            a necessary and permissible form of political activity on
            the part of persons who seek political office and persons
            who have been elected to political office. Thus, the
            acceptance by an elected official of a campaign
            contribution does not, in itself, constitute a violation of
            the Hobbs Act even though the donor has business
            pending before the official.

             However, if a public official demands or accepts money
             in exchange for [a] specific requested exercise of his or her
             official power, such a demand or acceptance does
             constitute a violation of the Hobbs Act regardless of
             whether the payment is made in the form of a campaign
             contribution.
     Evans, 504 U.S. at 257–58.
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     for official acts.” Id. at 268.

              So what exactly does an “explicit” quid pro quo entail?

     Per McCormick, “payments . . . made in return for an explicit

     promise or undertaking by the official to perform or not to

     perform an official act” where “the official asserts that his

     official conduct will be controlled by the terms of the promise or

     undertaking” suffices. McCormick, 500 U.S. at 273 (emphasis

     added). Explicitness ostensibly requires something more than

     a politician’s comment on campaign expenses, a lobbyist’s

     promise to help, and cash from recently benefited

     constituents. See id. at 260, 274. But the Supreme Court left the

     explicitness threshold vague. Per Evans, “the Government

     need only show that a public official has obtained a payment

     to which he was not entitled, knowing that the payment was

     made in return for official acts.” Evans, 504 U.S. at 268

     (emphasis added).

              Since McCormick and Evans, circuit courts have

     indicated that “[e]xplicit[] . . . does not mean express.” 12 United


     12The Second Circuit has read “explicit” to mean “express.” See United
     States v. Ganim, 510 F.3d 134, 142 (2d Cir. 2007) (construing McCormick as
     requiring “proof of an express promise . . . when the payments are made
     in the form of campaign contributions”); United States v. Benjamin, No. 21-
     CR-706 (JPO), 2022 WL 17417038, *8–15 (S.D.N.Y. Dec. 5, 2022) (following
     Ganim). The Defendants have not cited, nor has this Court found, any First
     Circuit case embracing this interpretation. Moreover, Evans—in part a
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     States v. Siegelman, 640 F.3d 1159, 1171 (11th Cir. 2011); see

     United States v. Allinson, 27 F.4th 913, 925 (3d Cir.), cert.

     denied, 143 S. Ct. 427 (2022); see also Evans, 504 U.S. at 274

     (Kennedy, J., concurring). Instead, courts have interpreted

     “McCormick [to] require[] . . . that the quid pro quo be clear

     and unambiguous, leaving no uncertainty about the terms of

     the bargain.” United States v. Carpenter, 961 F.2d 824, 827 (9th

     Cir. 1992). Consistent with that interpretation, this Court has

     previously construed “explicit” as “refer[ring] ‘not to the

     form of the agreement between the payor and payee, but to

     the degree to which the payor and payee were aware of its

     terms, regardless of whether those terms were articulated.’”

     United States v. Lopez-Martinez, No. CR 15-739 (PAD), 2020 WL

     5629787, at *40 (D.P.R. Sept. 21, 2020) (quoting United States v.

     Blandford, 33 F.3d 685, 696 (6th Cir. 1994), cert. denied, 514 U.S.



     campaign contribution case—affirmed a jury instruction that merely
     required a finding that Evans “accept[ed] money in exchange for [a]
     specific requested exercise of his . . . official power” without requiring a
     finding that the agreement was “express.” Evans, 504 U.S. at 258 (second
     alteration in original). Absent binding precedent instructing otherwise,
     this Court will not find that when the Supreme Court said “explicit” it
     really meant “express.” See Evans, 504 U.S. at 274 (Kennedy, J., concurring)
     (“The official and the payor need not state the quid pro quo in express
     terms, for otherwise the law's effect could be frustrated by knowing winks
     and nods. The inducement from the official is criminal if it is express or if
     it is implied from his words and actions, so long as he intends it to be so
     and the payor so interprets it.”).
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     1095 (1995)), rev'd in part, vacated in part on other grounds sub

     nom. United States v. Falcón-Nieves, 79 F.4th 116 (1st Cir. 2023).

     Therefore, while the agreement’s terms must be “specific,”

     United States v. Turner, 684 F.3d 244, 253 n.4 (1st Cir. 2012)

     (quoting United States v. Cruzado–Laureano, 404 F.3d 470, 482

     (1st Cir. 2005)), “there is no requirement that th[e] agreement

     be memorialized in a writing[] . . . [or] overheard by a third

     party.” Siegelman, 640 F.3d at 1171; United States v. Correia, 55

     F.4th 12, 31 (1st Cir. 2022) (“We hold, therefore, that it was

     well within the jury's province . . . to infer the existence of an

     explicit quid pro quo between Pichette and the defendant”);

     Carpenter, 961 F.2d at 827 (explaining that a quid pro quo

     “understanding need not be verbally explicit.”).

              Any other rule would halt the routine use of

     circumstantial evidence in bribery prosecutions. See, e.g.,

     Carpenter, 961 F.2d at 827 (“The jury may consider both direct

     and circumstantial evidence, including the context in which a

     conversation took place, to determine if there was a meeting

     of the minds on a quid pro quo.”); United States v. Terry, 707

     F.3d 607, 615 (6th Cir. 2013) (affirming a public official’s

     conspiracy         and     bribery-based   honest   services   fraud

     convictions because “the jury rejected any legitimate

     explanation for Russo's contributions in the face of strong
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     circumstantial evidence . . . [of] a corrupt bargain”). The

     implications of such a rule defy common sense. Instead of

     juries considering “matters of intent,” defendants would have

     had to have expressly declared their intent for a bribery

     indictment or conviction to stand. McCormick, 500 U.S. at 270

     (citing Cheek v. United States, 498 U.S. 192, 203 (1991)). As

     Justice Kennedy observed in his Evans Concurrence, such a

     rule would allow “the law's effect . . . [to] be frustrated by

     knowing winks and nods.” Evans, 504 U.S. at 274 (Kennedy,

     J., concurring).

              Defendants argue “the Indictment fails to meet the

     foundational McCormick standard, as nowhere does it allege

     any ‘explicit promise or undertaking’ made by Governor

     [Vázquez]-Garced in return for the ‘campaign contributions’

     purportedly provided by Herrera.” Docket No. 193-1, pg. 24.

     This defect, Defendants argue, boils down to the Indictment

     never identifying when, where, and how the Defendants

     formed an “express” agreement to exchange a certain quid for

     a certain quo. See Docket No. 193-1, pgs. 25, 30–33, 38.

              In essence, Defendants ask this Court to dismiss their

     charges, pre-trial, based on a Second Circuit gloss on an

     implied element in a different statute than the one they
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     allegedly violated. 13 That “express” agreement gloss has not

     been adopted by most circuits, lacks support in First Circuit

     case law, and this Court declines to apply it here. Instead, the

     Court considers whether the Indictment would satisfy the

     McCormick and Evans express quid pro quo requirement, as

     interpreted by most courts, if indeed applicable to § 666

     bribery. 14

                To start, the Indictment tracks the statutory language

     of § 666(a)(2) and § 666(a)(1)(B). See Docket No. 3, paras. 128,

     131. It further alleges that Herrera and Rossini gave, offered,

     and promised payments for political consulting services and

     campaign funding to Vázquez in exchange for a specific

     exercise of her official power: the termination of OCIF

     Commissioner                A   and   the   appointment   of    a   new

     Commissioner chosen by Herrera. 15 See id. paras. 31, 126, 129.

                The Indictment further alleges that the Defendants and

     their intermediaries discussed aspects of the agreement via


     13   See, supra, note 12.

     14Because the Indictment alleges an explicit quid pro quo, this Court need
     not reach the question of whether an explicit quid pro quo is an implied
     element of § 666 federal program bribery.

     15  Counts Two and Three re-allege and incorporate by reference
     allegations contained in paragraphs 1–26 and 30–125 of the Indictment.
     See Docket No. 3, paras. 126, 129.
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     text, email, messaging applications, and in-person meetings.

     See id. para. 33. It quotes a message from Rossini stating that

     Herrera and Vázquez saw each other the weekend of January

     4, 2020, that Vázquez wanted to see Herrera the following

     week, and that Vázquez was “keen on” the political

     consulting firm whose services Herrera subsequently

     retained for her benefit. Id. para. 43. The Indictment quotes an

     email from Herrera to that consulting firm in which Herrera

     states he had a “conversation” with Vázquez “on the 4 of

     January[, 2020,]” the date of Individual C’s wedding, and

     indicates his interest in presenting the firm to Vázquez. Id.

     para. 44. Vázquez, Herrera, Rossini, and others allegedly met

     on January 14, and the Indictment quotes a text message from

     Rossini from the following day stating that Vázquez wanted

     the consulting firm and Herrera would pay for it. See id. paras.

     46–47. The Indictment further alleges that in February 2020,

     Herrera conveyed, through intermediaries, to Vázquez his

     willingness to support her reelection campaign through a

     SuperPAC. See id. para. 88.

              In the midst of Herrera’s alleged engagement with

     Vázquez and discussions regarding support, the Indictment
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     alleges that John Blakeman 16 (“Blakeman”), “acting at the

     direction of [Herrera,] told [Vázquez] during one or more in-

     person meetings . . . that The Bank [owned by Herrera]

     wanted OCIF Commissioner A removed from his position.”

     Id. para. 50. The Indictment further alleges that Vázquez

     directed Blakeman to tell Bancrédito’s President Frances Díaz

     (“Díaz”) that her administration needed Bancrédito to

     identify someone to replace OCIF Commissioner A. See id.

     para. 52. Her request allegedly made its way to Herrera. See

     id. para. 54.

              Based on the Indictment’s allegations, which the Court

     must take as true at this juncture, see Guerrier, 669 F.3d at 3–4,

     Vázquez and Herrera’s terms were specific, unambiguous,

     and communicated to one another and their co-conspirators,

     see Docket No. 3, paras. 31–76. This indisputably apprises

     Defendants of the “quid” and “quo” allegedly exchanged.

              That leaves the “pro”—the lynchpin of Defendants’

     explicit quid pro quo theory. The Indictment not only alleges

     that Vázquez took specific, official acts “in exchange for”

     Herrera’s campaign contributions but also sets out specific



     16 According to the Indictment, Blakeman “was a political consultant
     located in Puerto Rico . . . [who] served as a political advisor to [Vázquez]
     during her tenure as Governor. Docket No. 3, para. 13.
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     conduct and statements by the Defendants and their

     intermediaries consistent with a mutually conditional

     agreement. Specifically, the Indictment alleges meetings,

     follow ups, and statements that campaign support would not

     issue until Vázquez took specific, official actions. See, e.g., id.

     paras. 53, 69, 107, 114, 116–22.

              Per the Indictment, on January 21, 2020, Rossini

     confirmed the date that the political consultants would

     present their services to Vázquez: February 28, 2020. See id.

     para. 53. On February 3, Blakeman allegedly informed Díaz

     that Vázquez had given the instruction to terminate

     Commissioner A. See id. para. 58. Two days later, Díaz

     inquired about the timing for “executing the instructions.” Id.

     para. 59. Then, the Indictment proceeds to outline a pattern of

     follow up between Vázquez and Herrera’s intermediaries

     regarding the status of Commissioner A’s firing. These

     exchanges allegedly occurred between February 6 up until a

     few hours before the February 28 political consultant meeting.

     See id. paras. 60–76. Specifically, the Indictment alleges that

     Herrera expressed need to “confirm the meeting,” need for

     “[Vázquez’s] support for the Ocif [sic] situation that can no

     longer wait,” and hesitancy to “spend money, Time and Effort
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     in [sic] people that do not need our help.” 17 Id. para. 69. On

     February 24, 2020, this message was allegedly forwarded by

     newlywed Individual C to Vázquez’s Deputy Chief of Staff,

     making Vázquez’s staff aware that the meeting confirmed by

     Rossini as of January 21 was not—in Herrera’s view—

     confirmed due to the OCIF situation. See id. Also on February

     24, Díaz informed Herrera that Commissioner A had been

     spoken to by Fortaleza and would finish out the month of

     February. See id. para. 70. Per the Indictment, Vázquez’s Chief

     of Staff, at Vázquez’s direction, told Commissioner A that he

     had to resign from his position by February 28—the day of the

     political consultant meeting. See id. para. 72. Hours before that

     meeting, Vázquez’s Deputy Chief of Staff sent images of OCIF

     Commissioner A’s resignation letter to Individual C and

     Blakeman. See id. paras. 14, 75–76.

              Additionally, on the date of the political consultant

     meeting, Herrera texted Blakeman expressing need to speak

     with Vázquez after the presentation to “explain some details

     of the next steps and coordinate the final objective of our

     regulator . . . . In short to make a coordinated plan of action.”

     Id. at 84. Starting the next day, February 29th, the Indictment


      The Court notes that the Indictment does not provide the date that
     17

     Herrera sent this message.
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     alleges another pattern of follow up and communication

     between the Parties regarding the appointment of Herrera’s

     Commissioner candidate, Commissioner B, in exchange for

     campaign funding via a SuperPAC. See id. paras. 95, 107–08,

     113–17, 120–21.

              In late February or early March, Herrera allegedly

     identified his candidate, but Vázquez did not make the

     appointment immediately after the February 28 meeting. See

     id. paras. 85–87, 93–95, 118. The Indictment alleges that in

     March 2020, Blakeman met with Vázquez at Fortaleza and

     conveyed a message from Herrera and Rossini: Vázquez had

     to appoint OCIF Commissioner B before Herrera would fund

     the SuperPAC. See id. para. 107. In April, Herrera, Rossini, and

     others allegedly hired Political Consultant A to create and

     manage the SuperPAC. See id. paras. 99–100. The SuperPAC

     was subsequently registered, but not funded. See id. paras.

     100, 107. On May 7, Rossini allegedly texted Blakeman that he

     “just spoke to a mutual friend whom [sic] advised that

     if/when that gentleman is installed as the OCIF director that

     with [sic] 72 hours the ‘switch will be turned on’ and the PAC

     will be on the island and forging ahead.” Rossini sent the

     same message to Herrera explaining it was “[w]hat I sent.” Id.

     para. 114. On May 12, the Indictment alleges that Rossini
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     texted Blakeman to ask whether “the advice provided has

     been implemented.” Id. para. 116. Blakeman responded that

     “they are implementing the recommendations” and “[t]he

     guy for OCIF went to Fortaleza and was interviewed.” Id.

     (alteration       in       original).   Rossini   allegedly   forwarded

     Blakeman’s message to Herrera, who responded, “[t]hat’s a

     relief, she gets it now,” and “[t]hey are moving but very

     slow.” Id. para. 117. On May 14, Vázquez appointed

     Commissioner B. See id. para. 118. Rossini informed Herrera,

     who allegedly instructed Rossini to prepare Political

     Consultant A, the SuperPAC’s manager. See id. para. 121.

     These allegations suggest that, at some prior point, the

     Defendants agreed and understood that their conduct was

     controlled by the terms of their alleged bargain. In sum, the

     Indictment sufficiently alleges the explicit conditionality

     needed to transform a representative’s actions benefiting a

     politically engaged constituent into an illegal bribe.

              Defendants argue that the Indictment never identifies

     when they reached a quid pro quo agreement. See Docket No.

     193-1, pg. 38. Whether and when the Defendants reached an

     explicit quid pro quo agreement are questions of fact. The

     Indictment alleges that the Defendants discussed the

     agreement in person and through intermediaries on multiple
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     occasions. See, e.g., Docket No. 3, paras. 33, 43–44, 46, 59, 71,

     77, 84, 88, 107, 114, 116, 120. The Indictment alleges that

     Defendants’ own written communications reference those

     discussions. See, e.g., id. paras. 43–44. And the Indictment lays

     out a pattern of alleged conduct and statements by the

     Defendants and their co-conspirators consistent with a

     conditional agreement. See, e.g., id. paras. 53–75, 108–25. It is

     for a jury to decide whether an agreement was formed, prior

     to the giving or acceptance of a thing of value, in light of

     whatever evidence the Government presents at trial.

              Vázquez           argues   that   the   Indictment   doesn’t

     sufficiently connect her to the alleged deal or demonstrate her

     knowledge of or assent to the deal. See Docket No. 193-1, pgs.

     11–15. This is a sufficiency of the evidence argument not

     properly raised in a motion to dismiss. The Indictment

     sufficiently alleges that her office staff and political advisors

     acted as her intermediaries, arranging the alleged deal with

     Herrera’s staff and personal connections. See, e.g., Docket No.

     3, paras. 33, 52, 88, 93, 95, 107, 114, 116, 120. The Indictment

     further alleges that Vázquez and Herrera spoke and met with

     each other on various occasions to discuss the alleged

     agreement. See, e.g., id. paras. 33, 43–44, 46, 77, 84, 88. The

     Government must prove beyond a reasonable doubt that
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     Vázquez had the requisite mens rea at trial, but not in the

     Indictment.

              In sum, the Indictment sufficiently alleges the elements

     of federal program bribery, an explicit quid pro quo, and the

     factual circumstances underlying Counts Two and Three.

     Defendants have received fair notice of the charges they face

     and the alleged conduct underlying them. See Yefsky, 994 F.2d

     at 893; Savarese, 686 F.3d at 6. This is all that is required for an

     indictment to survive a motion to dismiss. Whether the

     Government’s evidence will prove sufficient to substantiate

     those allegations and convict is a wholly separate question

     reserved for trial.

              B. Count Four: Honest Services Wire Fraud (18

                   U.S.C. §§ 1343, 1346, and 2)

              Defendants argue that the honest services wire fraud

     charges are contingent upon the sufficiency of the

     Indictment’s bribery scheme allegations. See Docket No. 193-

     1, pg. 7; Docket No. 213, pg. 11; see also Skilling v. United States,

     561 U.S. 358, 368 (2010) (“§ 1346 covers only bribery and

     kickback schemes.”). Because the Indictment sufficiently

     alleges federal program bribery, the honest services wire
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     fraud charges do not fail on that ground. 18

              C. Count One: Conspiracy (18 U.S.C. § 371)

              The Defendants argue that the conspiracy charge must

     fall with the federal program bribery and honest services wire

     fraud charges. See Docket No. 193-1, pg. 7. Because the

     Indictment is not defective as to either, Defendants have

     presented no ground upon which to dismiss their conspiracy

     charges.

                                 IV. CONCLUSION

              Accordingly, the Court DENIES the Motion to Dismiss

     at Docket No. 193 as to all Defendants on all applicable

     counts.

          IT IS SO ORDERED.

          In San Juan, Puerto Rico, this 7th day of March 2024.

                      S/ SILVIA CARREÑO-COLL
                UNITED STATES DISTRICT COURT JUDGE




     18Herrera brings various recent cases to the attention of the Court. See
     Docket Nos. 198, 279. The Court reviewed the authority he identifies and
     does not find it instructive on issues raised by Defendants’ Motion to
     Dismiss at Docket No. 193.
